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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 12 B 31241
         Forrest K Johnson
         Wyanetta Johnson
                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 08/07/2012.

         2) The plan was confirmed on 11/21/2012.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
11/21/2012.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Completed on 12/27/2017.

         6) Number of months from filing to last payment: 65.

         7) Number of months case was pending: 75.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $65,896.34.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor              $79,801.00
           Less amount refunded to debtor                             $0.94

 NET RECEIPTS:                                                                                      $79,800.06


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                   $2,900.00
     Court Costs                                                                 $0.00
     Trustee Expenses & Compensation                                         $3,195.11
     Other                                                                       $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                    $6,095.11

 Attorney fees paid and disclosed by debtor:                    $600.00


 Scheduled Creditors:
 Creditor                                         Claim         Claim            Claim        Principal       Int.
 Name                                   Class   Scheduled      Asserted         Allowed         Paid         Paid
 Amalgamated Bank Of Chicago        Unsecured      5,000.00       5,182.37         5,182.37      3,618.33         0.00
 Becket & Lee                       Unsecured         834.00        884.93           884.93        617.86         0.00
 Beneficial                         Unsecured         300.00           NA               NA            0.00        0.00
 Bloomingdales                      Unsecured         698.00           NA               NA            0.00        0.00
 Certegy                            Unsecured          55.00           NA               NA            0.00        0.00
 City Of Chicago Dept Of Revenue    Unsecured         200.00        244.00           244.00        170.36         0.00
 Commonwealth Edison Company        Unsecured         610.00        856.60           856.60        598.08         0.00
 Department Stores National Bank    Unsecured            NA         727.65           727.65        508.05         0.00
 Horseshoe Casino Hammond Corp      Unsecured         520.00           NA               NA            0.00        0.00
 Illinois Bell Telephone Company    Unsecured           0.00        531.30           531.30        370.95         0.00
 InSolve Recovery LLC               Unsecured         800.00      1,395.98         1,395.98        974.67         0.00
 Internal Revenue Service           Unsecured            NA         226.32           226.32        158.02         0.00
 Internal Revenue Service           Priority       2,829.00       5,012.26         5,012.26      5,012.26         0.00
 JP Morgan Chase Bank NA            Secured       18,171.00     17,712.97        17,712.97      17,712.97    1,010.56
 Kovitz Shirfrin Waitzman           Unsecured     50,000.00            NA               NA            0.00        0.00
 Lake County Prosecuting Attorney   Unsecured         753.00           NA               NA            0.00        0.00
 MATPSC                             Unsecured      7,186.00       3,920.00         3,920.00      2,736.94         0.00
 Oak Park Hospital                  Unsecured         519.00           NA               NA            0.00        0.00
 Orchard Bank                       Unsecured         500.00           NA               NA            0.00        0.00
 Payday Loan                        Unsecured      1,800.00            NA               NA            0.00        0.00
 Portfolio Recovery Associates      Unsecured         867.00        905.79           905.79        632.42         0.00
 Portfolio Recovery Associates      Unsecured         624.00        635.45           635.45        443.67         0.00
 Portfolio Recovery Associates      Unsecured     11,251.00     11,341.82        11,341.82       7,918.86         0.00
 Portfolio Recovery Associates      Unsecured         855.00        105.02           105.02          73.32        0.00
 Portfolio Recovery Associates      Unsecured      3,485.00       3,593.85         3,593.85      2,509.23         0.00
 Portfolio Recovery Associates      Unsecured         394.00        404.76           404.76        282.60         0.00
 Portfolio Recovery Associates      Unsecured      6,355.00       1,681.38         1,681.38      1,173.94         0.00
 Portfolio Recovery Associates      Unsecured      2,502.00       2,550.43         2,550.43      1,780.71         0.00
 Select Portfolio Servicing Inc     Secured      153,439.00    142,646.68       124,646.68            0.00        0.00
 Select Portfolio Servicing Inc     Secured       18,000.00     18,136.76        18,000.00      18,000.00         0.00
 Vonage                             Unsecured         200.00           NA               NA            0.00        0.00



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 Scheduled Creditors:
 Creditor                                   Claim          Claim         Claim        Principal      Int.
 Name                             Class   Scheduled       Asserted      Allowed         Paid         Paid
 Wells Fargo Bank             Secured        7,171.00        7,023.24      7,023.24      7,023.24     377.91


 Summary of Disbursements to Creditors:
                                                           Claim            Principal               Interest
                                                         Allowed                Paid                   Paid
 Secured Payments:
       Mortgage Ongoing                            $124,646.68                $0.00                 $0.00
       Mortgage Arrearage                           $18,000.00           $18,000.00                 $0.00
       Debt Secured by Vehicle                      $24,736.21           $24,736.21             $1,388.47
       All Other Secured                                 $0.00                $0.00                 $0.00
 TOTAL SECURED:                                    $167,382.89           $42,736.21             $1,388.47

 Priority Unsecured Payments:
        Domestic Support Arrearage                          $0.00              $0.00                 $0.00
        Domestic Support Ongoing                            $0.00              $0.00                 $0.00
        All Other Priority                              $5,012.26          $5,012.26                 $0.00
 TOTAL PRIORITY:                                        $5,012.26          $5,012.26                 $0.00

 GENERAL UNSECURED PAYMENTS:                        $35,187.65           $24,568.01                  $0.00


 Disbursements:

          Expenses of Administration                        $6,095.11
          Disbursements to Creditors                       $73,704.95

 TOTAL DISBURSEMENTS :                                                                     $79,800.06




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/19/2018                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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